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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

AHZAR SAIYED, Individually and as                )
Administrator of the Estate of                   )
MIKAZNAAZ SAIYED, deceased                       )
and as Father and Next Friend of                 )
HOORAYN SAIYED, a Minor                          )
                                                 )
               Plaintiffs                        )
v.                                               )   No.:
                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
               Defendants.                       )



                               PLAINTIFF’S COMPLAINT AT LAW

        Plaintiff, AZHAR SAIYED, Individually and as Administrator of the Estate of

 MIKAZNAAZ SAIYED, deceased and as Father and Next Friend of HOORAYN SAIYED, a

 Minor, and complaining against the Defendant, UNITED STATES of AMERICA states as

 follows:

                             FACTS COMMON TO ALL COUNTS

         1.        Plaintiff, AZHAR SAIYED has been appointed the Independent Administrator

 of the Estate of MIKAZNAAZ SAIYED, deceased, by the Circuit Court of the COOK COUNTY,

 State of Illinois. (See Exhibit A.)




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       2.      At all times pertinent, Swedish Covenant Hospital, through its agents, servants, and

employees, owned, operated, maintained, and controlled a certain hospital, where it made facilities

available to persons in need of medical treatment and surgical procedures.

       3.      At all times pertinent, Swedish Covenant Hospital was an Illinois corporation

doing business in the County of Cook, State of Illinois.

       4.      At all times pertinent, Swedish Covenant Health, through its agents, servants, and

employees, owned, operated, maintained, and controlled a certain hospital,where it made facilities

available to persons in need of medical treatment and surgical procedures.

       5.      At all times pertinent, Swedish Covenant Health was an Illinois corporation doing

business in the County of Cook, State of Illinois.

       6.      At all times pertinent, Swedish Covenant Management Services, Inc. through its

agents, apparent agents, servants, and employees, owned, operated, maintained, and controlled a

certain hospital, where it made facilities available to persons in need of medical treatment and

surgical procedures.

       7.      At all times pertinent, Swedish Covenant Management Services, Inc. was an

Illinois corporation doing business in the County of Cook, State of Illinois.

       8.      Swedish Covenant Health manages and/or operates Swedish Covenant Hospital.

       9.      Swedish Covenant Health owns in whole or in part SwedishCovenant Health.




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       10.       Swedish Covenant Health has officers/managers in common with Swedish

Covenant Hospital.

       11.       Swedish Covenant Health manages and/or operates Swedish Covenant Medical

Services, Inc.

       12.       Swedish Covenant Health has officers/managers in common with Swedish Medical

Services, Inc.

       13.       On May 29, 2019, MIKAZNAAZ SAIYED was admitted to Swedish Covenant

Hospital for induction of labor and delivery of her daughter, HOORAYN SAIYED.

       14.       On May 29, 2019, MIKAZNAAZ SAIYED was admitted to Swedish Covenant

Health for induction of labor and delivery of her daughter, HOORAYN SAIYED.

       15.       While a patient at Swedish Covenant Health, MIKAZNAAZSAIYED came under

the care of physician, SARAH LAMBETH, M.D, thereby establishing a physician-patient

relationship.

       16.       While a patient at Swedish Covenant Health, MIKAZNAAZSAIYED came under

care of CARLY BENDZANS, R.N, a nursing midwife, thereby establishing a nursing-patient

relationship.

       17.       While a patient at Swedish Covenant Hospital, MIKAZNAAZ SAIYED came under

the care of physician, SARAH LAMBETH, M.D, thereby establishing a physician-patient

relationship.




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        18.     While a patient at Swedish Covenant Hospital, MIKAZNAAZ SAIYED came

 under care of CARLY BENDZANS, R.N, a nursing midwife, thereby establishing a nursing-

 patient relationship.

        19.     At all times relevant to this Complaint, SARAH LAMBETH, M.D. was an

 employee or agent of Defendant UNITED STATES OF AMERICA.

        20.     At all times relevant to this Complaint, SARAH LAMBETH, M.D. was an apparent

 agent of Defendant UNITED STATES OF AMERICA

        21.     At all times relevant to this Complaint, CARLY BENDZANS, R.N. was an

 employee or agent of Defendant UNITED STATES OF AMERICA.

        22.     At all times relevant to this Complaint, CARLY BENDZANS, R.N. was an

 apparent agent of Defendant UNITED STATES OF AMERICA.

       23.     At all times relevant to this Complaint, Swedish Covenant Health, through its

employees, agents, and/or apparent agents including but not limited to physicians, doctors, nurses,

nursing aides, midwives, techs, assistants, and/or staff provided care of and to MIKAZNAAZ

SAIYED and HOORAYN SAIYED at or near the time of the induction of labor and delivery of

HOORAYN SAIYED.

        24.     At all times relevant to this Complaint, Swedish Covenant Hospital, through its

 employees, agents, and/or apparent agents including but not limited to physicians, doctors, nurses,

 nursing aides, midwives, techs, assistants, and/or staff provided care of and to MIKAZNAAZ

 SAIYED and HOORAYN SAIYED at or near the time of the induction of labor and delivery of

 HOORAYN SAIYED.




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        25.     At all times relevant to this Complaint, Swedish Covenant Management Services,

Inc., through its employees, agents, and/or apparent agents including but not limited to physicians,

doctors, nurses, nursing aides, midwives, techs, assistants, and/or staff provided care of and to

MIKAZNAAZ SAIYED and HOORAYN SAIYED at or near the time of the induction of labor

and delivery of HOORAYN SAIYED.

        26.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED was given drugs

to induce and hasten labor.

        27.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED experienced

abnormal uterine contractions.

        28.     On May 29, 2019 and/or May 30, 2019 HOORAYN SAIYED demonstrated fetal

intolerance to labor and or fetal distress.

        29.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED and according to

the defendant’s medical record allegedly suffered from an amniotic fluid embolism.

        30.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED was operated via

an emergency cesarean section to deliver HOORAYN SAIYED.

        31.     Just prior to and/or during delivery HOORAYN SAIYED suffered a brain injury and
                sequelae therefrom.

        32.     On May 30, 2019, MIKAZNAAZ SAIYED was transferred from the Swedish

Covenant facilities to another facility where she eventually died on June 2, 2019

        33.     This Court has jurisdiction of the action pursuant to 28 U.S.C.A. §§ 1331, 1346(b)

and 2671, et seq.

        34.     Venue is proper in this Court under 28 U.S.C. §1391(b) because all incidents,

events, and occurrences giving rise to this action occurred in the Northern District of Illinois.

Moreover, upon information and belief, all parties resides in this judicial district or resided in
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this judicial district at the time these events took place.

                                    COUNT I – SURVIVAL ACTION
                                        MIKAZNAAZ SAIYED
                                    UNITED STATES OF AMERICA


                1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated

  by reference as if they were fully set forth herein as paragraphs 1 through 34 of Count I.

      35.        At all times pertinent to this Complaint, Defendant, UNITED STATES OF

   AMERICA, through its employees, agents, or apparent agents including but not limited to

   CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D. were under certain duties imposed

   by law.

      36.        At all times pertinent to this Complaint, Defendant, UNITED STATES OF

AMERICA, through its employees, agents, or apparent agents including but not limited to CARLY

BENDZANS, R.N., and SARAH LAMBETH, M.D were negligent in the care and treatment of

Plaintiff’s decedent in one or more of the following respects:


            a. Failed to properly and/or timely monitor the Plaintiff;

            b. Failed to properly and/or timely physically examine the Plaintiff;

            c. Improperly prescribed and used medications used to induce and hasten labor;

            d. Failed to properly and timely discontinue medications used to induce and hasten
               labor;

            e. Improperly supervised the administration of medications used to induce and hasten
               labor;

            f. Failed to properly supervise the labor;

            g. Failed to properly and timely respond to uterine/labor abnormalities:

            h. Failed to properly and/or timely respond to fetal intolerance/distress;

            i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;
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         j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
            tracings;

         k. Failed to properly and/or timely treat the Plaintiff;

         l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
            tests;

         m. Failed to properly and/or timely communicate with other medical professionals or
            staff;

         n. Failed to order proper tests or studies,

         o. Failed to obtain proper and/or timely consultations;

         p. Improperly allowed a nursing midwife to direct and supervise this labor;

         q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
            procedures with respect to care and management of patients undergoing labor and
            delivery;

         r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
            or policies and procedures with respect to care and management of patients with
            abnormal and/or prolonged labor;

         s. Failed to provide an obstetrician for the Plaintiff’s decedent to physically direct and
            supervise her labor;

         t. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
            during labor and delivery;

         u. Entrusted the care and treatment of decedent to incompetent, inadequately trained
            and/or unskilled nurses and/physicians;

         v. Failed to properly investigate and determine the competence, training and/or skill of
            members of its nursing and physician staff;

         w. Failed to provide competent and capable nursing and professional care and services
            to Plaintiff;

         x. Was otherwise careless and negligent;

      37. That as a direct and proximate cause of one or more of the foregoing acts of negligence

of Defendant, UNITED STATES OF AMERICA, through its employees, agents, or apparent

agents including but not limited to CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D.,
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    Plaintiff’s decedent, MIKAZNAAZ SAIYED, suffered injury which caused her disability, loss of

    normal life, disfigurement, pain, mental anguish, suffering and caused her to incur medical

    expenses, be absent from her employment and aggravated her underlying condition, all to her

    damage.

            38.     Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

            39.     On October 15, 2020, Plaintiff’s counsel forwarded to the U.S. Department of

Health and Human Services Via Certified Mail and Fedex Plaintiff’s Claim Form 95 with Exhibits.

            40.     On April 6, 2021, Plaintiff’s counsel received a letter from the U.S. Department of

Health and Human Services denying Plaintiff’s Claim Form 95 with Exhibits. (Exhibit C)

            41.     As such, Plaintiff has now exhausted his administrative remedies under the Federal

Torts Claims Act and in accordance with Judge Dow’s Order, dismissing this matter against the United

States without prejudice, this matter is now ripe for filing against the UNITED STATES of

AMERICA. (Exhibit D).

            WHEREFORE, Plaintiff, MIKAZNAAZ SAIYED, prays for judgment against the Defendants,

    UNITED STATES OF AMERICA in an amount in excess of $75,000 plus costs.



                                       COUNT II - WRONGFUL DEATH
                                          MIKAZNAAZ SAIYED
                                       UNITED STATES OF AMERICA

            1-39.    Paragraphs 1-41 of Count I are hereby incorporated by reference as if they were

     fully set forth herein as Paragraphs 1-41 of Count II.

         40.          As a direct and proximate cause of the aforementioned acts of negligence on the

     part of the Defendants, UNITED STATES OF AMERICA., through its employees, agents, and/or

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apparent agents including but not limited SARAH LAMBETH, M.D., and CARLY BENDZANS

R.N. Plaintiff’s decedent, MIKAZNAAZ SAIYED, suffered severe, painful, disabling and

permanent injuries to her person, which ultimately resulted in her death on June 2, 2019.

    42.          At the aforementioned time, there was, in full force and effect, the Illinois Wrongful

Death Act. 740 ILCS 180/1 (WEST 2008).

    43.         That Plaintiff’s decedent, left surviving the following heirs-at-law who have

sustained pecuniary injury as a result of the decedent’s untimely death, including but not limited to

loss of money, goods, services, society, and support, and further has caused them grief, sorrow,

mental anguish, and loss of consortium.

             a. Azhar Saiyed
             b. Muhammad Saiyed
             c. Hoorayn Saiyed

    44.     Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

    Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)


          WHEREFORE, AZHAR SAIYED, as Independent Administrator of the Estate of

MIKAZNAAZ SAIYED, deceased, prays for judgment in his favor and against Defendant,

UNITED STATES OF AMERICA in an amount in excess of $75,000 plus costs.



                                 COUNT III - NEGLIGENCE
                                    HOORAYN SAIYED
                                 UNITED STATES OF AMERICA

       1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated by

reference herein as if they were fully set forth herein as paragraphs 1 through 34 of Count III.

            35. At all times pertinent to this Complaint, Defendant, UNITED STATES OF

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AMERICA through its employees, agents, or apparent agents including but not limited to CARLY

BENDZANS, R.N. and SARAH LAMBETH, M.D. was under certain duties imposed by law.

        36. At all times pertinent to this Complaint, Defendant, UNITED STATES OF

 AMERICA through its employees, agents, or apparent agents including but not limited to

 CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D. was negligent in the care and

 treatment of HOORAYN SAIYED in one or more of the following respects:

        a. Failed to properly and/or timely monitor the Plaintiff;

        b. Failed to properly and/or timely physically examine the Plaintiff;

        c. Improperly prescribed and used medications used to induce and hasten labor;

        d. Failed to properly and timely discontinue medications used to induce and hasten
           labor;

        e. Improperly supervised the administration of medications used to induce and hasten
           labor;

        f. Failed to properly supervise the labor;

        g. Failed to properly and timely respond to uterine/labor abnormalities:

        h. Failed to properly and/or timely respond to fetal intolerance/distress;

        i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;

        j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
           tracings;

        k. Failed to properly and/or timely treat the Plaintiff;

        l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
           tests;

        m. Failed to properly and/or timely communicate with other medical professionals or
           staff;

        n. Failed to order proper tests or studies,

        o. Failed to obtain proper and/or timely consultations;

        p. Improperly allowed a nursing midwife to direct and supervise this labor;
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             q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
                procedures with respect to care and management of patients undergoing labor and
                delivery;

             r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
                or policies and procedures with respect to care and management of patients with
                abnormal and/or prolonged labor;

             s. Failed to provide an obstetrician for the Plaintiff’ decedent to physically direct and
                supervise her labor;

             t. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
                during labor and delivery;

             u. Entrusted the care and treatment of decedent to incompetent, inadequately trained
                and/or unskilled nurses and/physicians;

             v. Failed to properly investigate and determine the competence, training and/or skill of
                members of its nursing and physician staff;

             w. Failed to provide competent and capable nursing and professional care and services
                to Plaintiff;

             x. Was otherwise careless and negligent;


             37.   That as a direct and proximate cause of one or more of the foregoing acts of

     negligence of Defendant, UNITED STATES OF AMERICA, through its employees, agents,

     or apparent agents including but not limited to CARLY BENDZANS, R.N. and SARAH

     LAMBETH, M.D., HOORAYN SAIYED, suffered severe and permanent injuries which have

     caused great pain and suffering, disability, disfigurement, mental anguish, and loss ofa normal

     life and will interfere with her ability in the future to obtain gainful employment and hasforced

     her, and will continue to force her, to incur medical expenses.

     38.        Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

       39.     On October 15, 2020, Plaintiff’s counsel forwarded to the U.S. Department of Health

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                and Human Services Via Certified Mail and Fedex Plaintiff’s Claim Form 95 with

                Exhibits.

         40.      On April 6, 2021, Plaintiff’s counsel received a letter from the U.S. Department of

Health and Human Services denying Plaintiff’s Claim Form 95 with Exhibits. (Exhibit C)

         41.      As such, Plaintiff has now exhausted his administrative remedies under the Federal

Torts Claims Act and in accordance with Judge Dow’s Order, dismissing this matter against

the United States without prejudice, this matter is now ripe for filing. (Exhibit D).

         WHEREFORE, Plaintiff, AZHAR SAIYED, as Next Friend and Father of HOORAYN

     SAIYED, prays for judgment against the Defendant, UNITED STATES OF AMERICA in an amount

     in excess of $75,000 plus costs.

                               COUNT XVI (FAMILY EXPENSE ACT)
                                 UNITED STATES OF AMERICA


         The Plaintiff, AZHAR SAIYED, by his attorneys, PHILLIPS LAW OFFICES, for his

 complaint at law against the Defendants, UNITED STATES OF AMERICA, state as follows:


         1.        Plaintiff incorporates each and every Count of this Complaint herein as if fully set

forth herein.

         2.        As a direct and proximate result of one of the foregoing negligent acts and/or

omissions by the defendants, the Plaintiff, AZHAR SAIYED has and will in the future incur costs

and expenses pursuant to the Family Expense Act, 750 ILCS 65-15, in the care of his daughter,

HOORAYN SAIYED and for the care of MIKAZNAAZ SAIYED prior to her death.

3.            Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to Section

 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

         WHEREFORE, the plaintiff, AZHAR SAIYED, asks this Court to enter judgment inhis
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favor and against the Defendants, UNITED STATES OF AMERICA, and each of them in an

amount commensurate with their past and future medical and other expenses incurred for his

daughter and wife, plus costs.




                                           Respectfully submitted,

                                          _________________________________________________
                                            Attorneys for Plaintiff
 Stephen D. Phillips
 Stephen J. Phillips
 PHILLIPS LAW OFFICES
 161 North Clark Street, Suite 4925
 Chicago, Illinois 60601
 (312) 346-4262
 sphillips@phillipslegal.com
 sjphillips@phillipslegal.com




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                                                                                                        Exhibit A
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                                                                                                               Exhibit B
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                                                             Exhibit C
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       Case:
       Case:1:21-cv-02869
             1:20-cv-05524Document
                          Document#:
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                                  UNITED STATES DISTRICT
                                COURT NORTHERN DISTRICT OF
                                 ILLINOIS EASTERN DIVISION

     AHZAR SAIYED, individually and as               )
     Administrator of the Estate of MIKANZAAZ        )
     SAIYED, deceased, and Next Friend of            )
     HOORAYN SAIYED, a minor,                        )
                                                     )
                                  Plaintiffs,        )
                                                     )
                                                          No. 20 C 5524
                          v.                         )
                                                     )
                                                          Judge Dow
     UNITED STATES OF AMERICA,                       )
     SWEDISH COVENANT HOSPITAL,                      )
     SWEDISH COVENANT HEALTH,                        )
     SWEDITH COVENANT HEALTH                         )
     SERVICES INC,                                   )
                                                     )
                                  Defendants.        )

                                         AGREED ORDER
         THIS MATTER coming to be heard following the October 23, 2020 case management

 conference related to Defendant UNITED STATES OF AMERICA’S Motion to Dismiss for

 Failure to Exhaust Administrative Remedies (Dkt. 4), the Court being fully advised in the

 premises, it is HEREBY ORDERED:

1.      Plaintiff’s case against Defendant UNITED STATES of AMERICA only is dismissed

without prejudice and with an absolute right to refile. The remainder of the case against Defendants,

SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT HEALTH, and SWEDISH

COVENANT HEALTH SERVICES, INC., is stayed until further order of Court as Plaintiff has

submitted his Form(s) 95 to government. Once the Plaintiff has exhausted his administrative

remedies, Plaintiff will file a new complaint against the UNITED STATES of AMERICA and move

to join the newly filed case with this case (2020 C 5524), at which time this Court will join the cases.



                                                                               Exhibit D
    Case:
    Case:1:21-cv-02869
          1:20-cv-05524Document
                       Document#:
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                                                  November 16, 2020

                                                 ENTERED:




                                                 JUDGE

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